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 6                           IN THE UNITED STATES DISTRICT COURT
 7                        FOR THE EASTERN DISTRICT OF CALIFORNIA
 8   UNITED STATES OF AMERICA,                 )        Case №:2:13-cr-00331 GEB
                                               )
 9                  Plaintiff,                 )                    ORDER
                                               )               APPOINTING COUNSEL
10       vs.                                   )
     ADELA GUERRERO,                           )
11                                             )
                    Defendant.                 )
12                                             )
                                               )
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14
             The court relieved Toni White in court on March 16, 2018. CJA Panel attorney Todd
15   Leras is hereby appointed effective March 21, 2018, the date the Office of the Federal Defender
     first contacted him.
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     Dated: March 22, 2018
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     ORDER APPOINTING COUNSEL                       1
